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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA GENERAL ENERGY                     )
 COMPANY, LLC,                                   )
                                                 )   Civil Action No. 14-cv-209 ERIE
                Plaintiff                        )
 v.                                              )   Magistrate Judge Susan Paradise Baxter
                                                 )
 GRANT TOWNSHIP,                                 )
                                                 )
               Defendant.                        )
                                                 )
                                                 )


          STIPULATION AND ORDER EXONERATING BOND AND SURETY

       WHEREAS, an Opinion and Order imposing sanctions against Thomas A. Linzey and

Elizabeth Dunne was entered by the United States District Court for the Western District of

Pennsylvania on January 5, 2018. (Doc. 290).

       WHEREAS, a Memorandum Opinion and Order disposing of all remaining issues

between the parties was entered on April 1, 2019. (Doc. 335 & 336).

       WHEREAS, Thomas A. Linzey and Elizabeth Dunne filed an appeal to the United States

Court of Appeals for the Third Circuit on April 26, 2019. (Notice of Appeal, Doc. 345).

       WHEREAS, a Supersedeas Bond was issued by surety International Fidelity Insurance

Company, Bond No. 0759691, and posted on behalf of and for the benefit of Thomas A. Linzey

and Elizabeth Dunne, in the total amount of $56,000.00 to the United States District Court Clerk,

in conjunction with their appeal and in accordance with this Court’s Order of April 25, 2019

(Order, Doc. 344). A Notice of Bond was filed with the District Court. (Dkt. 348). The original

bond remains with the Clerk of the District Court at this time.
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       WHEREAS, Thomas A. Linzey, Elizabeth Dunne and all parties participated in the Third

Circuit’s Mediation program, amicably resolving the claims of all parties and resulting in the

withdrawal of all appeals and the discontinuance of all appellate proceedings with prejudice.

       WHEREAS, Pennsylvania General Energy Company, LLC (PGE) acknowledges that the

Order entered on January 5, 2018 (Docs. 290) has been satisfied in full and requests that the

Court release Bond No. 0759691 in the sum of $56,000.00.

       THEREFORE, THE COURT FINDS that the Order of Sanctions entered herein on

January 5, 2018 has been satisfied in full.

       IT IS HEREBY ORDERED that the bond issued by surety International Fidelity

Insurance Company, Bond No. 0759691, and posted on April 30, 2019, in the sum of $56,000.00

and the compensated surety, International Fidelity Insurance Company, the Community

Environmental Legal Defense Fund, Thomas A. Linzey and Elizabeth Dunne are exonerated and

discharged from further liability forthwith.



IT IS SO ORDERED:

DATED: _______________________, 2019

_____________________________________

Respectfully submitted,

/s/Bethann R. Lloyd
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